                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 LIBERTY MUTUAL INSURANCE
 COMPANY,

        Plaintiff,
                                                              Case No. 1:09-CV-271
 vs.
                                                              Chief Judge Curtis L. Collier
 JERRY SCHEIB, LORETTA
 SCHEIB, and DORIS BURNS


             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
             AS TO DEFENDANTS JERRY SCHEIB AND LORETTA SCHEIB


        COMES NOW Plaintiff, by and through its undersigned counsel, and responds to this

 Court’s Order of April 20, 2010 (Docket No. 14). This Court ordered on April 20, 2010, that

 Plaintiff (1) serve Jerry Scheib and (2) ensure Loretta Scheib answers the Complaint or move for

 default against her. If those two items had not occurred, Plaintiff was ordered to appear for an

 Order to Show Cause hearing on May 26, 2010. Plaintiff was also asked to call the Court’s

 office and speak with Sheila Hendrix if either of these were accomplished and, if so, the hearing

 would be cancelled.

        This day, May 24, 2010, Plaintiff’s counsel called Ms. Hendrix at the Court’s office to

 inform the Court of Plaintiff’s intention of voluntarily dismissing Jerry Scheib and Loretta

 Scheib. Plaintiff’s counsel was informed that the hearing would, therefore, be cancelled.

 Accordingly, in response to the Court’s Order and as grounds for its Notice of Voluntary

 Dismissal against Jerry Scheib and Loretta Scheib pursuant to Rule 41(a)(1) of the Federal Rules

 of Civil Procedure, Plaintiff states as follows:




Case 1:09-cv-00271-CLC-SKL Document 15 Filed 05/24/10 Page 1 of 3 PageID #: 57
         A.      Loretta Scheib

         1.      In response to the Court’s April 20, 2010, Order, Plaintiff, through counsel, again

 contacted bankruptcy counsel for Loretta Scheib. He did not respond.

         2.      As stated before to this Court, Loretta Scheib has filed for bankruptcy protection

 and has received her discharge, save any debts excepted from discharge pursuant to 11 U.S.C. §

 523.. Plaintiff has filed an adversary proceeding against Loretta Scheib (a/k/a Loretta Hart) in

 her bankruptcy case, which adversary proceeding is pending in the United States Bankruptcy

 Court for the Eastern District of Tennessee. In that case, Plaintiff seeks a money judgment and an

 order finding that the debt should be excepted from discharge based upon the same facts as

 alleged in this case.

         3.      Plaintiff will proceed against Ms. Scheib in her bankruptcy case through the

 pending adversary proceeding.

         B.      Jerry Scheib

         4.      Plaintiff had a third Alias Summons issued for Jerry Scheib and also hired a

 private investigator to locate Mr. Scheib.

         5.      All efforts to find and serve Mr. Scheib have been unsuccessful. The last attempt

 involved, among other tactics, sending the summons and complaint to a Post Office box which

 was believed to belong to Mr. Scheib. That package was signed for and picked up just recently,

 but it was not signed by Mr. Scheib.

         6.      If Mr. Scheib is located, Plaintiff may re-file its action against Mr. Scheib.




                                                   2

Case 1:09-cv-00271-CLC-SKL Document 15 Filed 05/24/10 Page 2 of 3 PageID #: 58
        WHEREFORE, for the foregoing reasons, Plaintiff provides notice that this case is

 hereby dismissed voluntarily without prejudice pursuant to Rule 41(a)(1) of the Federal Rules of

 Civil Procedure as to Defendants Jerry Scheib and Loretta Scheib.

                                              Respectfully submitted,


                                              BURCH, PORTER & JOHNSON
                                              a Professional Limited Liability Company


                                              /s/ Scott J. Crosby
                                              Scott J. Crosby (TN BPR #014287)
                                              130 North Court Avenue
                                              Memphis, TN 38103
                                              Tel: 901.524.5000
                                              Fax: 901.524.5024
                                              scrosby@bpjlaw.com
                                                      Attorney for Plaintiff

                                      Certificate of Service

        I hereby certify that I have this day mailed, postage prepaid, a true and correct copy of
 the above and foregoing document to Doris Burns, 470 Covenant Drive NE, Cleveland,
 Tennessee 37323, and Jeanie Scheib, a/k/a Loretta J. Hart, 330 Covenant Drive NE, Cleveland,
 Tennessee 37323.

        This _24th_ day of May, 2010.




                                              /s/ Scott J. Crosby
                                              Scott J. Crosby




                                                 3

Case 1:09-cv-00271-CLC-SKL Document 15 Filed 05/24/10 Page 3 of 3 PageID #: 59
